      Case: 1:19-cv-00045-TSB Doc #: 29 Filed: 10/16/19 Page: 1 of 2 PAGEID #: 809




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

XIAFEN “SHERRY” CHEN                              : Case No. 1:19-CV-00045
                        Plaintiff,                :

vs.                                               : District Judge Timothy S. Black

                                                  :
UNITED STATES OF AMERICA
                                                  :
                        Defendant.


 PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO REPLY TO
   DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO
                             AMEND

         Plaintiff Xiafen “Sherry” Chen respectfully moves pursuant to Federal Rule of Civil

Procedure 6(b) for a 14-day extension, to and including November 12, 2019, to reply to

Defendant the United States of America’s Response in Opposition to Plaintiff’s Motion to

Amend (“Opposition Motion”).

         On October 15, 2019, Defendant filed a Response in Opposition to Plaintiff’s Motion to

Amend her complaint. (ECF No. 28). Plaintiff’s deadline to reply to Defendant’s Opposition

Motion is October 29, 2019. See S.D. Ohio Civ. R. 7.2(a)(2) (“Any reply memorandum shall be

filed within fourteen days after the date of service of the memorandum in opposition.”)

         Defendant’s Opposition Motion is 72 pages and alleges multiple grounds as to why

Plaintiff’s Motion to Amend should be denied and involves complex state and federal law. A 14-

day extension will not prejudice the United States because no other deadlines have been set in

this matter and no discovery has occurred.
   Case: 1:19-cv-00045-TSB Doc #: 29 Filed: 10/16/19 Page: 2 of 2 PAGEID #: 810




       Counsel for Plaintiff has discussed the extension requested herein with counsel for

Defendant United States of America. Counsel for Defendant advised that Defendant does

consent to the requested extension.



Date: October 16, 2019


                                                             Respectfully submitted,

                                                             s/ Michele L. Young
                                                             Michele L. Young (0062011)
                                                             Trial Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I certify that a true copy of the foregoing was filed electronically on October 16, 2019 using

the Court’s CM/ECF system, which will serve notice of this filing on all counsel of record.



                                                                     s/ Michele L. Young
                                                                     Attorney for Plaintiff




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